                              Nos. 24-2643, 24-2644 (consol.)

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                            FOR THE SEVENTH CIRCUIT

 BENJAMIN SCHOENTHAL, MARK                       )   Appeal from the United States
 WROBLEWSKI, JOSEPH VESEL, and                   )   District Court for the Northern
 DOUGLAS WINSTON,                                )   District of Illinois, Western
                                                 )   Division
             Plaintiffs-Appellees,               )
                                                 )
        v.                                       )
                                                 )
 KWAME RAOUL, in his official capacity           )
 as Attorney General of Illinois;                )   No. 3:22-cv-50326
 ROBERT BERLIN, in his official                  )
 capacity as State’s Attorney of DuPage          )
 County, Illinois; and EILEEN O’NEILL            )
 BURKE, in her official capacity as              )
 State’s Attorney of Cook County,                )
 Illinois,                                       )   The Honorable
                                                 )   IAIN D. JOHNSTON,
             Defendants-Appellants.              )   Judge Presiding.

        STATE DEFENDANTS’ MOTION FOR EXTENSION OF TIME
                     TO FILE REPLY BRIEF

      Defendants-Appellants Kwame Raoul, in his official capacity as Attorney

General of Illinois, and Robert Berlin, in his official capacity as State’s Attorney of

DuPage County, Illinois, hereby move this Court to extend the time for filing the

appellants’ reply briefs in these consolidated appeals. The reply briefs are currently

due on Friday, April 4, 2025. Defendants-Appellants Raoul and Berlin request a 28-

day extension of time to file those briefs, to and including Friday, May 2, 2025.

      The declaration of Deputy Solicitor General Alex Hemmer is attached in

support of this motion.



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                     Respectfully submitted,

                     KWAME RAOUL
                     Attorney General
                     State of Illinois

                     /s/ Alex Hemmer
                     ALEX HEMMER
                     Deputy Solicitor General
                     115 South LaSalle Street
                     Chicago, Illinois 60603
                     (312) 814-5526 (office)
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                     alex.hemmer@ilag.gov

                     Attorneys for Defendants Raoul and
March 24, 2025       Berlin




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                         DECLARATION OF ALEX HEMMER

       I, ALEX HEMMER, state the following:

       1.       I am a citizen of the United States over the age of 18. My current

business address is 115 South LaSalle Street, Chicago, Illinois 60603. I have personal

knowledge of the facts set forth in this declaration. If called upon to do so, I could

and would competently testify thereto.

       2.       I serve as Deputy Solicitor General in the Office of the Attorney General

of the State of Illinois and have been assigned to represent Defendants-Appellants

Kwame Raoul, in his official capacity as Attorney General of Illinois, and Robert

Berlin, in his official capacity as State’s Attorney of DuPage County, Illinois

(together, the “State Defendants”), in the appeal captioned Schoenthal v. Raoul, No.

24-2643 (which has been consolidated on appeal with Schoenthal v. Burke, No. 24-

2644). I am the only attorney with principal responsibility for representing State

Defendants in this case.

       3.       Defendants-Appellants’ reply briefs are currently due on Friday, April 4,

2025. Defendants-Appellants have not previously sought an extension of time to file

those briefs.

       4.       This motion is being made at least seven days before the opening briefs’

due date, as required by Circuit Rule 26.

       5.       Although I have begun to draft the State Defendants’ reply brief, I will

not be able to complete the draft, have the draft reviewed through the Office’s
regular review process, and file the brief with this Court by April 4, 2025, for several

reasons.

      6.     As Deputy Solicitor General, I devote substantial time to performing

supervisory and administrative duties in addition to managing my own caseload.

These duties include reviewing briefs, managing the office’s amicus docket, reviewing

multistate litigation requests, and helping attorneys prepare for oral arguments.

      7.     In addition to my supervisory and administrative responsibilities, over

the course of the next month, I am or have been responsible for drafting or reviewing

filings in many other matters, including an opposition to a motion for a stay pending

appeal in New York v. Trump, No. 25-1236 (1st Cir.), filed on March 16, 2025; a brief

in opposition in Bost v. Illinois State Board of Elections, No. 24-568 (U.S.), due on

April 4, 2025; an answering brief in People v. Stewart, No. 131406 (Ill.), due on April

4, 2025; an amicus brief in Wilcox v. Trump, No. 25-5057 (D.C. Cir.), due on April 9,

2025; and an amicus brief in Welty v. Dunaway, No. 24-5968 (6th Cir.), due on April

10, 2025.

      8.     I have communicated with counsel for Defendant-Appellant Eileen

O’Neill Burke, in her official capacity as State’s Attorney of Cook County, Illinois,

who has authorized me to state that Defendant-Appellant Burke does not oppose this

request to extend the deadline for the reply briefs. Aligning the briefing schedule for

all appellants will ensure that the parties can coordinate their briefs and ensure an

efficient presentation of the issues to the Court.
       9.     On March 21, 2025, I gave notice to Plaintiffs’ counsel by providing a

copy of this motion before it was filed with this Court. Plaintiffs do not oppose the

requested extension.

       10.    I do not request this 28-day extension of time from April 4, 2025, to May

2, 2025, to file the reply brief in this appeal for purposes of delay, but so that I may

try to meet my professional responsibilities, properly represent my clients, and

provide this Court with thorough briefs in this case.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.

       Executed March 24, 2025.



                                              /s/ Alex Hemmer
                                              ALEX HEMMER
                  CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on March 24, 2025, I electronically filed this motion for an

extension of time with the Clerk of the Court for the United States Court of Appeals

for the Seventh Circuit using the CM/ECF system.

      All participants in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                               /s/ Alex Hemmer
                                               ALEX HEMMER
